Case 19-34054-sgj11 Doc 3779 Filed 04/11/23 Entered 05/11/23 12:55:11 Desc
  Case 3:23-cv-00737-N Document
                        Main Document
                                10 Filed Page
                                         04/11/23
                                              1 of 2 Page 1 of 2 PageID 691



                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

HUNTER MOUNTAIN                             §
INVESTMENT TRUST,                           §
                                            §
      Appellant,                            §
                                            §
v.                                          §          Civil Action No. 3:23-CV-737-N
                                            §
MUCK HOLDINGS, et al.,                      §
                                            §
      Appellees.                            §

                                        ORDER

      This Order addresses Appellant Hunter Mountain Investment Trust’s (“Hunter

Mountain”) Emergency Motion for Leave to File Interlocutory Appeal [1-1].        Because

Hunter Mountain has not satisfied the 28 U.S.C. § 1292(b) standard for interlocutory

appeals, the Court denies the motion.

      The decision to grant an interlocutory appeal is firmly within the district court’s

discretion. Ryan v. Flowserve Corp., 444 F. Supp. 2d. 718, 722 (N.D. Tex. 2006) (internal

citation omitted). Courts in the Fifth Circuit apply the standard from 28 U.S.C. § 1292(b)

governing interlocutory appeals generally to decide whether to grant leave for an appeal

from interlocutory orders of a bankruptcy court. In re Hallwood Energy, L.P., 2013 WL

524418, at *2 (N.D. Tex. 2013) (internal citations omitted). Section 1292(b) appeals are

limited to “controlling question[s] of law as to which there is substantial ground for

difference of opinion and that an immediate appeal from the order may materially advance

the ultimate termination of the litigation.” Id. (quoting 28 U.S.C. § 1292(b)) (internal


ORDER – PAGE 1
Case 19-34054-sgj11 Doc 3779 Filed 04/11/23 Entered 05/11/23 12:55:11 Desc
  Case 3:23-cv-00737-N Document
                        Main Document
                                10 Filed Page
                                         04/11/23
                                              2 of 2 Page 2 of 2 PageID 692



quotation marks omitted). Interlocutory appeals are appropriate only in “exceptional”

circumstances. Id.

       Here, Hunter Mountain asks the Court for leave to file an interlocutory appeal to

contest the hearing date set by the bankruptcy court. But Hunter Mountain has not shown

that an immediate appeal prior to the hearing, as opposed to an appeal after the Bankruptcy

Court rules on the applicability of any limitations defenses, will materially advance the

ultimate termination of the litigation. Moreover, interfering with routine scheduling

matters in the bankruptcy court does not rise to the level of exceptional circumstances, and

accordingly, the Court denies Hunter Mountain leave to file an interlocutory appeal.1



       Signed April 11, 2023.

                                                        ___________________________
                                                               David C. Godbey
                                                        Chief United States District Judge




1
 The Motion for Expedited Briefing Schedule on Motion for Interlocutory Appeal [4] is
denied as moot.
ORDER – PAGE 2
